      Case 1:21-cv-00040-CJN-MAU Document 130-1 Filed 09/13/24 Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                      )
 US DOMINION, INC., DOMINION                          )
 VOTING SYSTEMS, INC., and DOMINION                   )
 VOTING SYSTEMS CORPORATION,                          )
                                                      )
         Plaintiffs/Counter-Defendants,               )
                                                      )   Case No. 1:21-cv-0040 (CJN)
 v.                                                   )
                                                      )
 SIDNEY POWELL, SIDNEY POWELL,                        )
 P.C., and DEFENDING THE REPUBLIC,                    )
 INC.,                                                )
                                                      )
        Defendants/Counter-Plaintiffs.                )
                                                      )

                        DECLARATION OF GEORGE EL-KHOURY
              IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

         Pursuant to Local Civil Rule 83.2(d) of the United States District Court for the District

 of Columbia, I, George El-Khoury, hereby declare:


1.      My full name is George El-Khoury. I serve as counsel for plaintiffs US Dominion, Inc.,

Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation.

2.      I am an attorney practicing with the law firm of Susman Godfrey L.L.P. located at One

Manhattan West, 50th Floor, New York, New York 10001. My telephone number is (212) 336-

8330.

3.      I am a member in good standing of the State Bar of New York, Bar NY No. [5898358].

4.      I certify that there are no pending disciplinary proceedings against me before any bar, and

I have not been disciplined by any bar in the past.

5.      I have not previously been admitted pro hac vice in this Court.
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           Appellate Division of the Supreme Court
                     of the State of New York
                   Third Judicial Department


     I, Robert D. Mayberger, Clerk of the Appellate Division of
the Supreme Court of the State of New York, Third Judicial
Department, do hereby certify that

                  George Raymond El-Khoury
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on August 26, 2021,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and      according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                            In Witness Whereof, I have hereunto set
                            my hand in the City of Albany on
                            September 13, 2024.




                                  Clerk of the Court


CertID-00191014
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                                 State of New York
                         Supreme Court, Appellate Division
                            Third Judicial Department
                                 Admissions Office
                           P.O. Box 7350, Capitol Station
                              Albany, NY 12224-0350

                               AD3AdmissionsOffice@nycourts.gov
Robert D. Mayberger                                                              Anthony A. Moore
                            http://www.nycourts.gov/ad3/admissions
 Clerk of the Court                                                             Director of Attorney
                                        (518) 471-4778
                                                                                    Admissions




     To Whom It May Concern:


            An attorney admitted to practice by this Court may request a certificate of good
     standing, which is the only official document this Court issues certifying to an
     attorney's admission and good standing.


            An attorney's registration status, date of admission and disciplinary history may
     be viewed through the attorney search feature on the website of the Unified Court
     System.


            New York State does not register attorneys as active or inactive.


           An attorney may request a disciplinary history letter from the Attorney
     Grievance Committee of the Third Judicial Department.


          Bar examination history is available from the New York State Board of Law
     Examiners.


            Instructions, forms and links are available on this Court's website.




                                                      Robert D. Mayberger
                                                      Clerk of the Court


     Revised January 2022
